                    Case 1:16-cv-01412-CKK Document 50 Filed 11/28/18 Page 1 of 10


AO   133   (Rev. l2l09) Bill ofCosts


                                           UNrrBp Srerps Drsrnrcr CoURT
                                                                               for the
                                                                     District of Columbia              E
                      Dr, Stephanie Waggel                                       )
                                                                                 )
                                                                                 )       CaseNo.: 1:16-cv-01412-CKK
                                                                                 )
                George Washington University
                                                                                 )

                                                                      BILL OF COSTS
Judgment having been entered in the above entitled action on                         11t09120'18           against       Dr. Stephan ie Waooel
                                                                                         Date
the Clerk is requested to tax the following as costs:

Fees of the     Clerk   .                                                                                                          $

Fees   for service of summons and subpoena . , . . . .

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case
                                                                                                                                                 5,051.45

Fees and disbursements for           printing     .

                                                                                                                                                        0.00
Fees for witnesses (itemize        on page two)


Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . .

Docket fees under 28 U.S.C. 1923

Costs as shown on Mandate of Court of Appeals

Compensation ofcourt-appointed experts . . . .              .


Compensation of interpreters and costs of special interpretation services under 28 U,S.C. 1828 .                     .


Other costs     (please itemize)

                                                                                                                     TOTAL         $
                                                                                                                                                   5,051.45

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.



                                                                             and were necessarily incurred in this action and that the
           I declare under penalty ofperjury that the foregoing costs are correct
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:

       V          Electronic       service                      t]      First class mail, postage prepaid

       u   s/
                  Other:

                Attomey:
                        Name of Attorney: Nicholas S. McConnell

For:                                           Georoe                   Universitv                                         Date:       11           8
                                                      Name of Claiming Party




Costs are taxed in the amount             of                                                                                and included in the judgment.

                                                                       By:
                         Clerk of Court                                                     Deputy Clerk                                    Date
                  Case 1:16-cv-01412-CKK Document 50 Filed 11/28/18 Page 2 of 10

AO 133 (Rev. l2l09) Bill ofCosts


                                        UNrrBn Srarps Dtsrrucr CoURT
                                       Witness Fees (computation, cf.28 U.S.C. 1821 for statutory fees)

                                                                       ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                     Total Cost
           NAME, CITY AND STATE OF RESIDENCE                                     Total               Total                  Total   Each Witness
                                                                        Davs      Cost     Davs       Cost       Miles      Cost



                                                                                                                                             $0.00



                                                                                                                                             $0.00



                                                                                                                                             $0.00



                                                                                                                                             $0.00



                                                                                                                                             $0.00



                                                                                                                                             $0.00


                                                                                                                         TOTAL               $0.00


                                                                         NOTICE

  Section l924,Title 28, U.S. Code (effective September I, 1948) provides:
  "Sec. 1924. Verification ofbill ofcosts."
      "Before any bill ofcosts is taxed, the party claiming any item ofcost or disbursement shall attach thereto an affidavit, made by himselfor by
  his duly authorized attomey or agent having knowledge ofthe facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed."

   See also Section 1920 of     Title 28, which reads in part as follows:
       "A bill of costs shall   be filed in the case and, upon allowance, included in the judgment or decree."

   The Federal Rules of Civil Procedure contain the following provisions:
   RULE s4(d)(1)
   Costs Other than Attorneys' Fees.
       Unless a federal statute, these rules, or a court order provides otherwise, costs     other than attorney's fees    should be allowed to the
                                                                                           -                               -
   prevailing pafy. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
   may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

   RULE 6
   (d) Additional Time After Certain Kinds of Service.

        When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or   (F),3 days    are
   added after the period would otherwise expire under Rule 6(a).

   RULE s8(e)
   Cost or Fee Awardsl
        Ordinarily, the entry ofjudgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
   timely motion for attorney's fees is made under Rule 54(dX2), the court may act before a notice of appeal has been filed and become
   effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
                               Case 1:16-cv-01412-CKK Document 50 Filed 11/28/18 Page 3 of 10



             Veritext Gorp
             Mid-Atlantic Region                                                                                          VERITEXT                    LEGAL        sotuTloNs
              1801 Market St., Suite 1800
              Philadelphia PA 19103
              Tel. 888-777-6690 Fax. 215-241-1539
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              Fed. Tax lD: XX-XXXXXXX


           BillTo:        Sarah Tatum                                                                                                                lnvoice #;            PA2946143
                          Jackson & Campbell, PC                                                                                               lnvoice Date:                  412012017
                          1120 20th St NW, Suite 300
                          One Lafayette Centre, South Tower                                                                                    Balance Due:                  $1,152.91
                          Washington, DC, 20036

             Case:             Stephanie Waggel v. George Washington University
             Job #:            2589608 | Job Date: 41512017 | Delivery: Normal
             Bllllng Atty: Sarah Tatum
             Locatlon:         AudioTranscriPtion
                                   lWashington, DC 20005
             Sched     Atty:      Sarah Tatum I Jackson & Campbell, PC

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             Mary Tucker, MA , 3-17-16                    Original Transcript                                         Page                 1   .00           $3,80                $41

              Mary Tucker, MA - 5/26/16                   Original Transcript                                         Page                 30.00             $e.ao               $114.00

              Mary Tucker, MA, 5-19-16                    Original Transcript                                         Page                 64.00             $3.80               $243.20

             Stephanie Waggel , MD, MS                    Original Transcript                                         Page                 16.00             $3,80               $440,80

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 For bllllng queguons, please emall bllllng@planetdepos.com     or call 888.433,3767. lnvolce dlsputes must be brought to our aBentlon wlthln
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 Account Numben     1048289            Wlro Routlng Numbert 055003528
 We acc€pt all major credlt cards, subject to a 3% convenlence fee'


 For btlllng quesgons, please emall bllllng@planetdepos,com   or call 888,433.3767. Involce dlsputes must be brought to our attentlon wlthln
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 For your convenlence we now accept paymenb vla wlre bansfer.
 Account Number:   1048289                 Wlre Roudng Number: 055003528
 We accept all major credit cards, subject to a 3olo convenlenco fee.


 For bllllng quesuons, please emall billlngc)planetdepos.com   or call 888.433.3767. Involce dlsputes must be brought to our attentlon withln
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 For your conve0lence we now accopt payments vla wlre transfer,
 Acmunt Nurnber:   1048289                      Wlrs Routlng Numbor: 055003520
 We accept all maJor credlt csrds, subject to a 30/o convenlence fee,


 For bllllng questlons, please emall bllllng@danetdepos,com or call 888,433,3767, Involce dlsputes must be brought to our attentlon wlthln
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 We accept all maJor crsdlt cards, subject to a 30/o convenlonce fee,


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 We accept all major credlt cards, subJect to ra 3olo convenlence fee,

 For btlllng questlons, please emall bllllng@planetdepos,com or..call'888,433,376:7. involce dlsputes must:be broqght to our attentlon wlthln
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 Suite 300 South
 Washlngton, DC 20036-3437                                                                      AFTER     10/19i20r7 PAY $318,47




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                                                                                               Waggel -v- George Washlngton Unlverslty


       Nlcholas s, Mcconnell, Esqulre
       Jackson & Campbell, PC
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       Dr, Stephanle Waggel                                                                                  369.00      Pages                                     1,346.85

              Evenlng Atendance                                                                                                                                       175,00

              Exhiblts                                                                                       168.00      Pages                                         58.80

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